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                                  UNITED STATES DISTRICT COURT
                                    DISTRICT OF PUERTO RICO

  In re:

  THE FINANCIAL OVERSIGHT AND MANAGEMENT                       PROMESA
  BOARD FOR PUERTO RICO,                                       Title III

           as representative of                                No. 17-BK-3283-LTS

  THE COMMONWEALTH OF PUERTO RICO, et al.,                     (Jointly Administered)

                                      Debtors.1

  In re:

  THE FINANCIAL OVERSIGHT AND MANAGEMENT                       PROMESA
  BOARD FOR PUERTO RICO,
                                                               Title III
           as representative of
                                                               No. 17-BK-4780-LTS
  PUERTO RICO ELECTRIC POWER AUTHORITY,

                                      Debtor.


     JOINT STATUS REPORT OF THE FINANCIAL OVERSIGHT AND MANAGEMENT
            BOARD FOR PUERTO RICO AND OTHER PARTIES IN INTEREST
                    REGARDING CONFIRMATION SCHEDULE




 1
  The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number
 and the last four (4) digits of each Debtor’s federal tax identification number, as applicable, are
 the (i) Commonwealth of Puerto Rico (Bankruptcy Case No. 17 BK 3283-LTS) (Last Four Digits
 of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax Financing Corporation (“COFINA”)
 (Bankruptcy Case No. 17 BK 3284-LTS) (Last Four Digits of Federal Tax ID: 8474); (iii) Puerto
 Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case No. 17 BK 3567-LTS)
 (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the Government
 of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17 BK 3566-LTS) (Last
 Four Digits of Federal Tax ID: 9686); (v) Puerto Rico Electric Power Authority (“PREPA”)
 (Bankruptcy Case No. 17 BK 4780-LTS) (Last Four Digits of Federal Tax ID: 3747); and (vi)
 Puerto Rico Public Buildings Authority (“PBA”) (Bankruptcy Case No. 19-BK-5523-LTS) (Last
 Four Digits of Federal Tax ID: 3801). Title III case numbers are listed as Bankruptcy Case numbers
 due to software limitations.
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 To the Honorable United States District Judge Laura Taylor Swain:

          In the Order Concerning Joint Status Report of the Financial Oversight and Management

 Board for Puerto Rico and Other Parties in Interest Regarding Confirmation Schedule [ECF No.

 3934] (the “August 30 Order”), the Court directed the Financial Oversight and Management Board

 for Puerto Rico (the “Oversight Board”), as the sole Title III representative of the Puerto Rico

 Electric Power Authority (“PREPA” or the “Debtor”) pursuant to section 315(b) of the Puerto

 Rico Oversight, Management, and Economic Stability Act (“PROMESA”),2 and other parties in

 interest to file a joint status report (the “Joint Status Report”) with a proposed litigation schedule

 for confirmation proceedings for the Third Amended Plan of Adjustment of the Puerto Rico

 Electric Power Authority [ECF No. 3918] (as it may be amended, supplemented, or modified, the

 “Plan”) and a consensual or substantially consensual proposed order implementing that proposed

 schedule and addressing any additional procedural issues. August 30 Order at 1-2.

          This Joint Status Report is being submitted by counsel for the following parties:

          (i)     The Oversight Board;

          (ii)    National Public Finance Guarantee Corporation (“National”);

          (iii)   The Fuel Line Lenders (“FLL”);

          (iv)    The Puerto Rico Fiscal Agency and Financial Advisory Authority (“AAFAF”);

          (v)     The Majority Member PREPA Ad Hoc Group (the “Majority Member AHG”);

          (vi)    Invesco Advisers, Inc., as investment adviser/agent on behalf of certain funds

                  and/or accounts advised by it (“Invesco”);

          (vii)   U.S. Bank National Association (the “Trustee”);




 2
     PROMESA is codified at 48 U.S.C. §§ 2101-2241.

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        (viii)   Assured Guaranty Corp. and Assured Guaranty Municipal Corp. (together,

                 “Assured”);

        (ix)     Syncora Guarantee Inc. (“Syncora”);

        (x)      GoldenTree Asset Management LP (“GoldenTree”);

        (xi)     The Official Committee of Unsecured Creditors (the “Committee”);

        (xii)    The Ad Hoc Committee of National Claim Assignees (the “Ad Hoc Committee”);

        (xiii)   Unión de Trabajadores de la Industria Eléctrica y Riego (“UTIER”);

        (xiv)    Sistema de Retiro de los Empleados de la Autoridad de Energía Eléctrica

                 (“SREAEE”);

        (xv)     Instituto de Competitividad y Sostenibilidad Económica de Puerto Rico (“ICSE”);

        (xvi)    PV Properties, Inc. (“PV Properties”); and

        (xvii) The Environmental Non-Profits.3

 I.     BACKGROUND

        1.       On June 23, 2023, the Oversight Board filed the Informative Motion of the

 Financial Oversight and Management Board for Puerto Rico Listing Primary Amendments to Title

 III Plan of Adjustment in Connection with Certification of 2023 PREPA Fiscal Plan [ECF No.

 3793]. Therein, the Oversight Board described the amendments required to make the Modified

 Second Amended Plan of Adjustment of the Puerto Rico Electric Power Authority [ECF No. 3296]




 3
   The “Environmental Non-Profits” are Comité Diálogo Ambiental, Inc., El Puente de
 Williamsburg, Inc.-Enlace de Acción Climática, Comité Yabucoeño Pro-Calidad de Vida, Inc.,
 Alianza Comunitaria Ambientalista del Sureste, Inc., Sierra Club Puerto Rico, Inc., Mayagüezanos
 por la Salud y el Ambiente, Inc., Coalición de Organizaciones Anti Incineración, Inc., and Amigos
 del Río Guaynabo, Inc.

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 consistent with the 2023 PREPA Fiscal Plan.4 Since that time, the Oversight Board reached

 settlements not contemplated by the plan amendments it initially described.

           2.     On June 28, 2023, the Court entered its Order Setting Interim Litigation Deadlines

 Concerning Proposed Third Amended Plan of Adjustment [ECF No. 3820] (the “Interim

 Scheduling Order”) establishing certain deadlines in connection with the Plan, including for the

 Oversight Board to file the Plan and “an informative motion concerning its position as to whether

 approval of an amended or supplemental disclosure statement and re-solicitation is necessary” by

 July 14, 2023. Interim Scheduling Order at 2. Additionally, the Court directed the parties to meet

 and confer and file a joint status report by July 19, 2023, with a proposed litigation schedule for

 confirmation proceedings (including the schedule for any necessary litigation concerning

 amendments or supplements to the disclosure statement and/or re-solicitation). Id.

           3.     To facilitate negotiations with mediation parties regarding treatment under the Plan,

 the Oversight Board requested, and the Court granted, several extensions of the deadlines

 established in the Interim Scheduling Order. See ECF Nos. 3842, 3861, 3877, 3881, 3892.

           4.     On August 25, 2023, the Oversight Board filed the Plan.

           5.     That same day, the Oversight Board filed the Informative Motion of the Financial

 Oversight and Management Board for Puerto Rico Regarding Supplemental Disclosure Statement

 and Re-Solicitation of the Title III Plan of Adjustment of the Puerto Rico Electric Power Authority

 [ECF No. 3920] (the “Solicitation Informative Motion”). Therein, the Oversight Board informed

 the Court it will file a supplement to the Disclosure Statement for Modified Second Amended Title

 III Plan of Adjustment of the Puerto Rico Electric Power Authority [ECF No. 3297] explaining,

 among other things, certain aspects of the 2023 PREPA Fiscal Plan, as well as the new claim


 4
     The 2023 PREPA Fiscal Plan is available at https://oversightboard.pr.gov/fiscal-plans-2/.

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 treatments under the Plan, and the new settlements (the “Supplement to the Disclosure

 Statement”). Additionally, the Solicitation Informative Motion stated the Oversight Board would

 file and seek approval of the Supplement to the Disclosure Statement and resolicit votes on the

 Plan.

         6.     On August 29, 2023, the Oversight Board and parties in interest filed the Joint

 Status Report of the Financial Oversight and Management Board for Puerto Rico and Other

 Parties in Interest Regarding Confirmation Schedule [ECF No. 3925]. Therein, the parties

 presented the Court with proposed confirmation schedules and statements regarding their position

 on the schedule and related topics.

         7.     At the August 30, 2023 omnibus hearing, the Court heard from counsel for the

 Oversight Board and parties in interest regarding the proposed confirmation schedules. Without

 ruling on the schedule, the Court provided guidance and direction on several contested issues and

 ordered the parties to file this Joint Status Report and a proposed order.

 II.     PARTIES’ POSITIONS5

 Oversight Board’s Statement:

         8.     By email on the morning of September 2, 2023, counsel for the Oversight Board

 provided counsel for the parties in interest its proposed confirmation schedule.

         9.     In the evening of September 5, 2023, counsel for GoldenTree, Assured, Syncora,

 Invesco, the Trustee, and the Committee responded with a counterproposal (as later amended, the

 “Counterproposal”). Counsel for UTIER and SREAEE also joined the Counterproposal and

 provided additional comments. Additionally, earlier that day counsel for ICSE and PV Properties


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   National, the Ad Hoc Committee, UTIER, SREAEE, ICSE, and PV Properties had no
 comments. Counsel for the Majority Member AHG and the Environmental Non-Profits did not
 respond in time to include their position in this Joint Status Report.

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 sent counsel for the Oversight Board a memorandum stating no comments on the schedule but that

 discovery should not be limited to changes in the Plan from its previous iteration, and the Oversight

 Board has removed any such limitations from its proposal.

        10.     On September 6, 2023, counsel for the Oversight Board responded with a revised

 proposed confirmation schedule. The parties subsequently exchanged further counterproposals

 and met and conferred in the morning of September 7, 2023. The parties have now substantially

 agreed on the majority of relevant procedural deadlines. Having reviewed the other parties’

 submissions, the Oversight Board is compelled to note that it sent its initial proposal on the

 morning of Saturday, September 2. It did not receive a response until 8pm on Tuesday, September

 5 at 8:43pm. It responded promptly to that proposal, by Wednesday, September 6 at 3:34pm, and

 of course made itself available to confer by telephone. The Oversight Board conferred with the

 other parties in interest in good faith at 11:30am this morning, but the parties were unable to reach

 further agreement.    The Oversight Board’s proposal is attached hereto as Exhibit 1, and the

 parties’ correspondence is attached hereto as Exhibit 2.

        11.     A few key differences remain, however, which could not be resolved consensually:

                a. Deadline to file the Best Interest Test (“BIT”) report: The Counterproposal sets
                   a deadline of September 15, 2023, for the Debtor to submit the BIT report,
                   which is the same day the Debtor has proposed for filing the Supplement to the
                   Disclosure Statement and Supplement to the Disclosure Statement Solicitation
                   Motion. The Oversight Board’s initial scheduling proposal and its revised
                   proposal set the deadline for the BIT report on September 29, 2023. The BIT
                   report is being prepared by the Oversight Board’s advisor, McKinsey. Under
                   the Oversight Board’s proposal, parties in interest will still have two weeks
                   before the Supplement to the Disclosure Statement Objection Deadline to
                   review the BIT report. Notably, the initial BIT report was filed subsequent to
                   the original Disclosure Statement (on January 27, 2023) [ECF No. 3169]. That
                   date was one week before the disclosure statement objection deadline. In the
                   Oversight Board’s current proposal, the BIT will be filed two (2) weeks before
                   the objection deadline.



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             b. Deadline for all parties to serve notices of deposition for fact witnesses: The
                Counterproposal sets a deadline of November 1, 2023 for parties to serve
                notices of deposition for fact witnesses, whereas the Oversight Board’s
                proposal sets a deadline of October 13, 2023, which is two weeks after the
                proposed deadline for non-Debtor parties to file preliminary fact witness lists
                (September 29) and three weeks after the deadline for Debtor to file its
                supplemental preliminary fact witness list (September 15). Consistent with past
                practice, fact depositions should be concluded by the close of fact discovery,
                absent good cause shown. The Oversight Board’s proposal provides for over a
                month between the deadline to serve fact notices of deposition and the close of
                fact discovery (November 17, 2023) for the depositions to occur. The Oversight
                Board’s proposal also acknowledges that additional notices of deposition may
                be served for good cause; for example, if after October 13, a party in interest
                determines that a witness not identified on the witness lists should be noticed
                for deposition.

             c. Confirmation objection deadlines: The Counterproposal sets a deadline of
                February 2, 2024, for parties in interest to file objections to confirmation of the
                Plan, and February 12, 2024—a mere 10 days later—for the Debtor to file an
                omnibus reply to Plan objections. The Oversight Board received hundreds of
                confirmation objections to the Modified Second Amended Plan of Adjustment
                and has no reason to expect anything different here. A 10-day reply period for
                the Debtor does not provide enough time, particularly in light of the lengthy
                and substantive Plan objections parties in interest will likely file. By contrast,
                the Oversight Board’s proposal allows for three weeks between the filing of
                Plan objections and the Debtor’s omnibus reply. The Oversight Board submits
                this three-week period is necessary to enable it to prepare an omnibus reply that
                is more thorough and helpful to the Court. In addition, the parties’ proposals
                contain several minor differences in the deadlines for fact and expert discovery,
                which are driven by the parties’ differences on the confirmation objection
                deadlines.

             d. Daubert and in limine motion deadlines: Under either proposal, the Oversight
                Board believes it is reasonable for all parties to have two weeks to object to
                Daubert and in limine motions. The Counterproposal currently allows for one
                week, and counsel for the parties in interest and the Oversight Board were
                unable to reach a compromise providing for two weeks to file objections.

             e. RSA Joinder deadlines: The Counterproposal included a deadline for the RSA
                joinder, as well as a deadline for the Debtor to disclose the results of that
                joinder. The dates for that solicitation are not yet finalized and will depend in
                part on the schedule ordered by the Court for approval of the Disclosure
                Statement. However, this solicitation process is not part of the court-ordered
                process for confirmation; it is a separate transaction initiated by the Debtor, and
                there is therefore no basis for its deadlines to be incorporated into a court order.
                The Oversight Board is, of course, cognizant of the Court’s guidance that the

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                    solicitation must remain open beyond the Disclosure Statement hearing, and it
                    will inform the Court and the parties regarding the commencement of this
                    settlement offer and the deadline for signing joinders to accept it when those
                    dates are established by the Oversight Board.

        12.     A form of order entering the proposed schedule is attached hereto as Exhibit 3.

 GoldenTree, Syncora, Invesco, Trustee, and Assured’s Statement:

        13.     GoldenTree, Assured, Syncora, Invesco and the Trustee exchanged proposals and

 met and conferred with PREPA in good faith to submit a schedule to the Court on a consensual

 basis. Although the parties agreed on a number of deadlines, a number of disputes could not be

 resolved principally because of PREPA’s insistence that it be allotted three full weeks to reply to

 plan objections while proposing that objectors have a mere three days from the close of discovery

 to file plan objections—after PREPA also compressed the front-end of the schedule for us by

 taking the atypical approach of submitting its Best Interest Test two weeks after the Disclosure

 Statement (even though last week, PREPA was prepared to file the analysis with the Disclosure

 Statement (ECF 3925-1) and two weeks earlier).

        14.     PREPA is the party seeking expedition, but proposes non-expedited deadlines for

 its work while unreasonably compressing the deadlines for objectors, needlessly clustering the

 objectors’ deadlines around the holidays. As the party seeking expedition, PREPA needs to

 shoulder its fair share of the burden, and not put it all on the backs of the parties who object to

 confirmation. The remaining disputes are as follows:

        15.     Best Interests Test. Last week, PREPA submitted a proposed schedule to the Court

 with a deadline of September 15 for the filing of the Best Interest Test Analysis with the Disclosure

 Statement. PREPA now demands an additional two weeks to submit the Best Interest Test

 Analysis, key information needed for discovery.



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        16.     Notices of Deposition. PREPA has proposed an unworkable deadline of October

 13, 2023 for all parties to serve fact deposition notices. That date is two weeks before the deadline

 for the substantial completion of PREPA’s document production. The parties plainly need time

 to receive and review PREPA’s production to identify witnesses for deposition. As the Court

 noted at the August 30 hearing, “discovery needs to be logical to the entire discovery process,

 including depositions.” (Tr 20:7-8) PREPA’s proposal is not logical.

        17.     Fact Discovery Deadline. PREPA’s proposed deadline for the completion of fact

 discovery is November 17, 2024, which is the Friday before Thanksgiving. That leaves a mere

 three weeks from the deadline for the substantial completion of document production for parties

 to review documents, and then prepare for and complete depositions. The Court has provided

 guidance that depositions should be conducted at a “reasonable pace,” and this timeline would

 unreasonably compress the time for completing fact discovery, particularly given PREPA’s prior

 history of dragging its feet in providing responsive documents – or withholding them altogether.

 Moreover, as addressed above, PREPA has proposed extending its own deadlines for submitting

 the Best Interests Test analysis, which further shrinks the objectors’ already tight timeframe for

 discovery by delaying the start of discovery on a key issue. GoldenTree, Assured, Syncora,

 Invesco, and the Trustee have, therefore, proposed fact discovery end on December 1, 2023.

        18.     Privilege and Redaction Logs. PREPA also asserts, without explanation, that it

 needs two additional weeks beyond the deadline for substantial completion of document

 productions to submit privilege and redaction logs. If PREPA wants expedition, there is no reason

 that these logs cannot be submitted on the same day as PREPA completes it document production.

 That said, GoldenTree, Assured, Syncora, Invesco, and the Trustee are amenable to PREPA’s

 proposed deadline of November 8 to submit logs if fact discovery stays open until December 1.


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        19.     Expert Discovery. PREPA’s proposed schedule calls for the submission of rebuttal

 reports on January 10, 2024 and the conclusion of expert discovery on January 19, 2024. Seven

 business days is not enough time to digest rebuttal reports and then prepare for and take expert

 depositions. GoldenTree, Assured, Syncora, Invesco and the Trustee have proposed 12 business

 days after rebuttal expert reports to complete expert depositions, which is already very aggressive.

 This is especially true since PREPA is unwilling to permit additional deposition time if an expert

 submits a rebuttal report after a deposition occurs concerning that expert’s initial report. Thus, the

 expert depositions of necessity (under the Board’s proposal) would need to occur within that 7

 business day window.

        20.     Plan Objection Deadline. PREPA’s proposal requires parties to file plan objections

 3 days after its proposed date for the close of discovery, which falls on a Friday. In other words,

 PREPA proposes to provide objectors one weekend to file objections after the close of the of the

 factual record, which is unreasonable and unnecessary, and stands in sharp contrast to the three

 weeks that PREPA insists on for its reply to such objections. We propose that plan objections be

 filed one week after the completion of discovery.

        21.     Witness Lists / Daubert motions. PREPA’s proposal has final witness lists and

 Daubert motions to be filed five weeks before trial. We have moved those dates to three weeks

 before trial and four weeks before trial, respectively, to allow discovery to proceed at a more

 reasonable (but still highly expedited pace) which should be ample time.

        22.     Solicitation of RSA Joinder. In its original proposal, PREPA provided a date to

 begin solicitating support for the RSA. As the bondholders noted in the August 29, 2024 Joint

 Status Report, solicitation of the RSA should not begin without the approval of the Disclosure

 Statement. On September 1, 2023 counsel for GoldenTree asked counsel to the Oversight Board


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 to confirm that the Debtor would not solicit agreement for the RSA until after the Disclosure

 Statement was approved by the Court, and the Debtor did not provide any confirmation. The

 correspondence is attached as Exhibits 4 and 5. During the parties’ meet and confer, counsel for

 PREPA confirmed that PREPA could not commit to waiting until the Disclosure Statement is

 approved to commence solicitation for the RSA.

        23.     Attached as Exhibit 6 is a clean copy of the proposed schedule of GoldenTree,

 Assured, Syncora, Invesco and the Trustee where we have also highlighted the entries in dispute.

 Exhibit 7 is a redline copy showing the differences in the proposals.

 Committee’s Statement:

        24.     The Committee has evaluated the Oversight Board’s revised, proposed schedule

 and collaborated with certain Bondholders (i.e., GoldenTree, Syncora, Invesco, and Assured) to

 prepare two rounds of written counterproposals to the Oversight Board. The Court’s guidance and

 specific dates/parameters provided during the August 30, 2023 hearing were exceedingly helpful,

 but the Oversight Board and parties in interest have not reached a consensus. From a process

 standpoint, the Court directed the parties to meet and confer, but certain Bondholders’ request for

 availability for a “meet and confer” on September 6 was answered by the Oversight Board with an

 email that did not provide any times.6 Although a meet and confer was ultimately held at 11:30

 a.m. (AST) today, the impasse was not resolved in the hours before this status report being due.

 That impasse is driven, in substantial part, by the Oversight Board’s insistence on a 21-day period




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  Instead, at 3:43 p.m. (AST) on September 6, 2023, the Oversight Board responded by stating, in
 part, “Hopefully we can reach agreement without the need for a conference call but we are
 available if need be” (emphasis added).

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 to reply to plan objections and the (purported) need to shorten fact discovery (and accelerate expert

 disclosures and reports) to allow for the Oversight Board’s desired outcome.

        25.     The Committee believes the schedule proposed by certain Bondholders and

 developed with the Committee’s input is feasible, practical, and reasonable—making it far superior

 to the alternative put forth by the Oversight Board. The Oversight Board’s proposed schedule:

 (i) seemingly engineers bottlenecks to disadvantage the parties in interest; and (ii) needlessly

 compresses events with a pace that is unattainable (as informed by the progression of discovery

 under the preceding plan confirmation schedule). A non-exhaustive list of flaws within the

 Oversight Board’s schedule includes:

               i. The Oversight Board’s proposal would provide the Best Interests Test on

                  September 29, 2023 (a full two weeks after the Supplement to the Disclosure

                  Statement). On the Oversight Board’s timeline, the parties in interest would be

                  required to serve their requests for production (absent “good cause shown”) by

                  September 22, 2023 (a full week before receiving the Best Interests Test), and the

                  “witness lists and topics about which each witness is expected to testify” are due

                  the same day as receiving the Best Interests Test.

              ii. The Oversight Board’s proposal sets the deadline for “fact notices of deposition,

                  topics and requested times for deposition” on October 13, 2023. This date is

                  12 days prior to “substantial completion of document productions” (much less

                  any opportunity for the parties in interest to analyze those productions) and just

                  three weeks after the deadline for serving requests for production (again, allowing




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               no time for the parties in interest to make use of what, if anything, the Oversight

               Board makes available in roughly the next month).

           iii. With “substantial completion of document production” occurring on October 25,

               2023, the Oversight Board proposes the close of fact discovery just 23 days later

               (on November 17, 2023). In the span of roughly three weeks, the Oversight Board

               expects the parties in interest to analyze all documents produced, resolve all

               discovery disputes that arise, and prepare for and complete all depositions of fact

               witnesses. Expert disclosures are due the same day that fact discovery closes:

               November 17, 2023.

           iv. Ramping-up the breakneck pace further, the Oversight Board’s proposal demands

               opening expert reports be filed on December 1, 2023 (just two weeks after the

               close of fact discovery). One of those two weeks is the week of Thanksgiving,

               perhaps best illustrating the inequality between the Oversight Board (whose

               experts are anticipated to have unfettered and prompt access to the data and

               documents needed for their analysis and reports, outside of discovery) with the

               parties in interest (who must await substantial completion of document

               production and await explanations from fact witness depositions).

           v. After a flurry of activity in November 2023, December 2023 (and even early

               January 2024) epitomize the “hurry up and wait” approach of the Oversight

               Board’s proposal. Following opening expert reports on December 1, 2023,

               rebuttal expert reports are not due until January 10, 2024 (40 days later). When

               this lull ends, the rushed pace resumes: expert discovery would close on January

               19, 2024 (meaning experts serving rebuttal reports would need to be deposed in


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                  just 7 business days—because the Oversight Board is refusing to produce their

                  experts for deposition more than once, even when those experts provide both

                  opening and rebuttal reports). Both Daubert motions and motions in limine are

                  then due on January 26, 2024 (just one week after expert discovery closes).

        26.     The Committee urges the Court to enter the schedule leading to a confirmation

 hearing as proposed by certain Bondholders (and rejecting the Oversight Board’s competing

 schedule).

 AAFAF’s Statement:

        27.     AAFAF supports the Oversight Board’s schedule as it believes that an expeditious

 schedule best serves PREPA’s and the people of Puerto Rico’s needs. AAFAF reserves the right

 to be heard on scheduling matters and to fully participate in all matters related to plan confirmation.

 FLL’s Statement:

        28.     The FLL have no comment on the proposals.




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  Dated: September 7, 2023             Respectfully submitted,
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                                  CERTIFICATE OF SERVICE

         I hereby certify that, on this same date, I electronically filed the foregoing with the Clerk

 of the Court using the CM/ECF system, which will send notifications of such filing to all CM/ECF

 participants in this case.




                                                                               /s/ Hermann D. Bauer
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